     Case 1:09-cr-00320-TCB-JKL Document 506 Filed 08/23/17 Page 1 of 11




            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION

GRANT DECATUR ALLEN,                     MOTION TO VACATE
                                         28 U.S.C. § 2255
      Movant,
v.                                       CIVIL ACTION FILE NO.
                                         1:15-CV-1755-TCB-JKL
UNITED STATES OF AMERICA,
                                         CRIMINAL ACTION FILE NO.
      Respondent.                        1:09-CR-320-5-TCB-JKL

                                ORDER

      This matter is before the Court on Magistrate Judge John K.

Larkins, III’s Final Report and Recommendation (“R&R”) (Doc. 490)

and Grant Allen’s objections thereto (Doc. 492).

      In reviewing a magistrate judge’s R&R, the district court “shall

make a de novo determination of those portions of the report or

specified proposed findings or recommendations to which objection is

made.” 28 U.S.C. § 636(b)(1). “Parties filing objections to a magistrate’s

report and recommendation must specifically identify those findings

objected to. Frivolous, conclusive, or general objections need not be

considered by the district court.” United States v. Schultz 565 F.3d

1353, 1361 (11th Cir. 2009) (quoting Marsden v. Moore, 847 F.2d 1536,
    Case 1:09-cr-00320-TCB-JKL Document 506 Filed 08/23/17 Page 2 of 11




1548 (11th Cir. 1988)) (internal quotation marks omitted). Absent

objection, the district judge “may accept, reject, or modify, in whole or in

part, the findings or recommendations made by the magistrate judge,”

28 U.S.C. § 636(b)(1), and “need only satisfy itself that there is no clear

error on the face of the record in order to accept the recommendation.”

Fed. R. Civ. P. 72 advisory committee note to 1983 addition, subdivision

(b). In accordance with 28 U.S.C. § 636(b)(1) and Rule 72 of the Federal

Rules of Civil Procedure, the Court has conducted a de novo review of

those portions of the R&R to which Allen objects and has reviewed the

remainder of the R&R for plain error. See United States v. Slay, 714

F.2d 1093, 1095 (11th Cir. 1983).

                          I.    BACKGROUND

     In this action, Allen challenges his 2011 convictions in this Court

for conspiracy to possess with the intent to distribute cocaine, aiding

and abetting in the attempt to possess with the intent to distribute

cocaine, aiding and abetting in the possession of a firearm in

furtherance of a drug trafficking crime, and possession of a firearm by a

convicted felon. (Doc. 338). Allen was sentenced to life imprisonment


                                     2
     Case 1:09-cr-00320-TCB-JKL Document 506 Filed 08/23/17 Page 3 of 11




and an additional consecutive sixty-month term. (Id. at 2). His

convictions and sentence were affirmed on appeal.

      On May 15, 2015, Allen timely filed a motion to vacate. (Doc. 439).

He later filed a number of motions to amend. (Docs. 466, 472, 479, 488).

Most of the motions to amend were addressed in prior orders of the

magistrate judge. (Docs. 470, 485). The last motion to amend, filed

August 26, 2016, was denied in the R&R on the ground that it asserted

untimely claims. (Doc. 490).

      In the R&R, the magistrate judge also recommends that the

motion to vacate be denied. (Id.). Allen has objected to the R&R. (Doc.

492). For the reasons set forth below, Allen’s objections are overruled.

                            II.   DISCUSSION

A.    The August 26, 2016 Motion to Amend Was Properly Denied

      Allen’s initial objection is that his motion to amend, filed August

26, 2016, (Doc. 488), should not have been denied as untimely because

the motion was made “within one year of ‘the date on which the right

asserted was initially recognized by the Supreme Court.’” (Doc. 492 at

3). In this motion to amend, Allen noted that he was “moving the Court


                                     3
     Case 1:09-cr-00320-TCB-JKL Document 506 Filed 08/23/17 Page 4 of 11




only for permission to amend and/or supplement the record with the

following facts which clarifies [sic] the impact of Montgomery v.

Louisiana and its legal ramifications as they relate to the instant case.”

(Doc. 488 at 1). Allen then went on to a lengthy discussion of the

Supreme Court’s holding in Alleyne v. United States, 133 S. Ct. 2151

(2013). He did not, however, explain how Alleyne relates to any of the

timely claims asserted in his original motion to vacate.

      Alleyne holds that “[a]ny fact that, by law, increases the penalty

for a crime is an ‘element’ that must be submitted to the jury and found

beyond a reasonable doubt.” 133 S. Ct. at 2155. Allen first raised

Alleyne in a prior motion to amend filed February 22, 2016, for the

proposition that his sentencing range should have been zero to thirty

years rather than life in prison. 1 (Doc. 472-1 at 7). Specifically, he

argued that the jury did not attribute a specific quantity of drugs to him




1 Allen also raised Alleyne and these same arguments in a motion to amend filed
January 29, 2016, which was denied because it did not comply with Federal Rule of
Civil Procedure 15(a)(2) and because it was unsigned. (Docs. 466; 470 at 1-2).
                                        4
       Case 1:09-cr-00320-TCB-JKL Document 506 Filed 08/23/17 Page 5 of 11




relevant to the charged offenses and therefore, the mandatory minimum

of life in prison should not have applied to him.2 (Id.).

        The magistrate judge denied Allen’s motion to add this claim,

noting that it was not timely and did not relate back to any of Allen’s

timely filed claims. (Doc. 485 at 5). The time for objecting to that Order

has expired. See Fed. R. Civ. P. 72(a) (“A party may serve and file

objections to [a nondispositive order] within 14 days after being served

with a copy. A party may not assign as error a defect in the order not

timely objected to.”).

        Allen does not now contend that Alleyne bears on his timely filed

claims. Rather, he argues that any claim based on Alleyne is timely

because it was filed “within one year of ‘the date on which the right

asserted was initially recognized by the Supreme Court.” (Doc. 492 at

3.). Alleyne was decided on June 17, 2013. 133 S. Ct. 2151. Accordingly,

neither Allen’s August 26, 2016 motion to amend nor his February 22,

2016 motion to amend falls within that one-year time period.3


2   A review of the verdict form contradicts Allen’s argument. See infra Part II.C.2.
3  To the extent Allen argues that a claim based on Alleyne is made timely because
it was raised within one year of the holding in Montgomery v. United States, which
                                           5
     Case 1:09-cr-00320-TCB-JKL Document 506 Filed 08/23/17 Page 6 of 11




       Because Allen has failed to establish that the motion to amend

filed August 26, 2016, addresses any claims that relate back to his

timely filed claims, the Court overrules his objection.

      B.     The Jury Instructions Were Not Erroneous

      Next, Allen asserts that the R&R fails to address the merits of his

claim that the jury instructions were erroneous. Indeed, the magistrate

judge did not address the merits of this claim because he found that it

had been procedurally defaulted. (Doc. 490 at 30-31). Allen did not raise

the claim on direct appeal and has not made the requisite showing

necessary to excuse his failure to raise it. (Id.).

      Allen now adds, however, that “[t]he claim could have been and

should have been considered under ineffective assistance of counsel,”

(Doc. 492 at 3), presumably to overcome the procedural bar. See United

States v. Teague, 953 F.2d 1525, 1535 n.11 (11th Cir. 1992) (noting that



was decided on January 25, 2016, he is mistaken. Montgomery holds that the
Supreme Court’s holding in Miller v. Alabama, 132 S. Ct. 2455 (2012), announced a
new rule of constitutional law that should be applied retroactively in cases on state
collateral review. Miller held that laws mandating sentences of life without parole
for juvenile offenders are unconstitutional. Allen was not a juvenile at the time of
the offenses for which he was convicted.

                                          6
    Case 1:09-cr-00320-TCB-JKL Document 506 Filed 08/23/17 Page 7 of 11




the Eleventh Circuit “will generally entertain claims for ineffective

assistance of counsel only on collateral review”).

     This is the first time Allen has cast this claim as one for

ineffective assistance of counsel, and it is too late to raise a new claim

absent a showing of extraordinary circumstances to warrant equitable

tolling. Outler v. United States, 485 F.3d 1273, 1280 (11th Cir. 2007).

Allen has made no such showing. Accordingly, this new claim is

untimely pursuant to 28 U.S.C. § 2255(f).

     Moreover, even if the Court were to allow Allen to amend at this

late date, his ineffective assistance of counsel claim would fail on the

merits. Allen does not specify what action his counsel should have taken

with respect to the alleged erroneous jury instructions, and he has

failed to show “a reasonable probability that, but for counsel’s [alleged]

unprofessional errors, the result of the proceeding would have been

different.” Strickland v. Washington, 466 U.S. 668, 694 (1984). As a

result, he has not shown that he was prejudiced by the actions of his

counsel.




                                     7
     Case 1:09-cr-00320-TCB-JKL Document 506 Filed 08/23/17 Page 8 of 11




      Allen has not raised a timely ineffective assistance of counsel

claim regarding the jury instructions. Even if he had, that claim would

fail on the merits because he has not satisfied the requirements of

Strickland. The Court agrees with the magistrate judge that the claim

Allen did timely raise is procedurally barred. His objection is overruled.

C.    Counsel Was Not Ineffective at Sentencing

      Lastly, Allen argues that the R&R fails to address the following

claims: “1) the Sentence on count two amounts to cumulative

punishment; and 2) individualized drug quantity.” (Doc. 492 at 3).

These claims were first raised in Allen’s February 22, 2016 motion to

amend. (Doc. 472-1 at 7-9). The magistrate judge denied Allen’s motion

to add both these claims in his Order dated August 4, 2016, because

they did not relate back to the claims asserted in the original motion to

vacate and were not otherwise timely. (Doc. 485 at 5). As noted above,

Allen did not make a timely objection to the August 4, 2016 Order

denying his motion to amend these claims, and he cannot object now.




                                     8
     Case 1:09-cr-00320-TCB-JKL Document 506 Filed 08/23/17 Page 9 of 11




Fed. R. Civ. P. 72(a). Moreover, as shown below, these claims are

without merit. 4

         1.   The Sentence Does Not Amount to Cumulative Punishment

         Allen has argued that a sentence on count two amounts to

cumulative punishment unauthorized by Congress and in violation of

the double jeopardy clause. (Doc. 472-1 at 8). Count one charged Allen

with participating in a conspiracy to possess with the intent to

distribute cocaine, and count two charged him with aiding and abetting

in the attempt to possess with the intent to distribute cocaine. (Doc. 338

at 1).

         “As a matter of law, aiding and abetting the commission of a crime

and conspiracy to commit that crime are separate and distinct offenses.

4 The Court notes that Allen may again be attempting to recast these claims in his

objections as claims for ineffective assistance of counsel by raising them under the
heading “Counsel Was Ineffective at Sentencing.” (Doc. 492 at 3). Allen further
states that “[i]t was error in this case for counsel to not request a lesser sentence
under the facts of [this] case; and not to make an objection to count two which
amounts to cumulative punishment unauthorized by congress.” (Id.). These issues
were not raised as ineffective-assistance-of-counsel claims in Allen’s motions to
amend. Because the Court ultimately finds the underlying claims are without merit,
however, any claim for ineffective assistance of counsel based on them would also be
meritless because an attorney cannot be ineffective for failing to raise a meritless
claim. United States v. Winfield, 960 F.2d 970, 974 (11th Cir. 1992) (attorney not
ineffective for failure to raise non-meritorious issue); Freeman v. Attorney Gen.,
Fla., 536 F.3d 1225, 1233 (11th Cir. 2008) (same).

                                         9
    Case 1:09-cr-00320-TCB-JKL Document 506 Filed 08/23/17 Page 10 of 11




. . . Thus, as a general rule, the double jeopardy clause does not prevent

prosecution for both conspiracy and aiding and abetting.” U.S. v. Bright,

630 F.2d 804, 813 (5th Cir. 1980) (quoting United States v. Nelson, 599

F.2d 714, 716 (5th Cir. 1979)); see also United States v. Cagnina, 697

F.2d 915, 923 (11th Cir. 1983) (same). Allen’s objection is overruled.

      2.     The Jury Found the Individualized Drug Quantity

      Allen contends that the jury’s verdict specified the “conspiracy-

wide quantity” of drugs but not “the individualized quantity . . ., i.e., the

quantity that is foreseeable to Allen,” which triggers the mandatory

minimum sentence. (Doc. 472-1 at 7). He further states that his

“sentencing range under the facts of this case should be 0 to 30 years,

not life.” (Id.).

      Allen’s argument is not supported by the record. As to both counts

one and two of the indictment, the jury specifically found him

responsible for cocaine “[w]eighing 5 kilograms or more.” (Doc. 304 at 2,

4). The Court finds that the verdict form clearly indicates the amount of

drugs individually attributable to Allen. His objections are, accordingly,

overruled.


                                     10
   Case 1:09-cr-00320-TCB-JKL Document 506 Filed 08/23/17 Page 11 of 11




                          III.   CONCLUSION

     Finding no clear error in the remainder of the R&R, the Court

overrules Petitioner’s objections, (Doc. 492), adopts the R&R (Doc. 490)

as the Order and Opinion of this Court, and denies Petitioner’s 28

U.S.C. § 2255 motion to vacate (Doc. 439).

     IT IS SO ORDERED, this 23rd day of August, 2017.




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                                  Timothy C. Batten, Sr.
                                  United States District Judge




                                   11
